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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES EQUAL EMPLOYMENT            )
OPPORTUNITY COMMISSION,                   )
                                          )
                  Plaintiff,              )                   CIVIL ACTION NO.
                                          )                   21-4273
                                          )
            v.                            )                   COMPLAINT
                                          )
                                          )                   JURY TRIAL DEMANDED
THE PAI CORPORATION d/b/a                 )
EXCENTIA HUMAN SERVICES and d/b/a         )
EXCENTIA AND S. JUNE SMITH CENTER,        )
                                          )
                  Defendant.              )
                                          )
_________________________________________ )


                                  NATURE OF THE ACTION

       This is an action under Title I of the Americans with Disabilities Act of 1990, as

amended (ADA or ADAAA), and Title I of the Civil Rights Act of 1991, to correct unlawful

employment practices on the basis of disability and to provide appropriate relief to Charging

Party Stevie Baum. As alleged with greater particularity below, Defendant The Pai Corporation

d/b/a Excentia Human Services and d/b/a Excentia and S. June Smith Center violated the ADA

when it discriminated against Charging Party because of disability.

                                JURISDICTION AND VENUE

       1.      Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 451, 1331, 1337,

1343 and 1345. This action is authorized and instituted pursuant to Section 107(a) of the

Americans with Disabilities Act of 1990, as amended, 42 U.S.C. § 12117(a), which incorporates

by reference Section 706(f)(1) and (3) of Title VII of the Civil Rights Act of 1964 (“Title VII”),



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42 U.S.C. § 2000e-5(f)(1), (3), and pursuant to Section 102 of the Civil Rights Act of 1991, 42

U.S.C. § 1981a.

       2.        The employment practices alleged to be unlawful were committed within the

jurisdiction of the United States District Court for the Eastern District of Pennsylvania.

                                             PARTIES

       3.        Plaintiff, the Equal Employment Opportunity Commission (the “Commission”), is

the agency of the United States of America charged with the administration, interpretation, and

enforcement of Title I of the ADA and is expressly authorized to bring this action by Section

107(a) of the ADA, 42 U.S.C. § 12117(a), which incorporates by reference Sections 706(f)(1)

and (3) of Title VII, 42 U.S.C. § 2000e-5(f)(1), (3).

       4.        At all relevant times, Defendant, The Pai Corporation d/b/a Excentia Human

Services and d/b/a Excentia and S. June Smith Center, has continuously been doing business in

the State of Pennsylvania and the City of Lancaster, and has continuously had at least 15

employees.

       5.        At all relevant times, Defendant has continuously been an employer engaged in an

industry affecting commerce under Sections 101(5) and 101(7) of the ADA, 42 U.S.C. §

12111(5), (7).

       6.        At all relevant times, Defendant has been a covered entity under Section 101(2) of

the ADA, 42 U.S.C. § 12111(2).

                               ADMINISTRATIVE PROCEDURES

       7.        More than thirty days prior to the institution of this lawsuit, Stevie Baum filed a

charge with the Commission alleging violations of the ADA by Defendant.

       8.        On February 28, 2021, the Commission issued to Defendant a Letter of




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Determination finding reasonable cause to believe that the ADA was violated and inviting

Defendant to join with the Commission in informal methods of conciliation to endeavor to

eliminate the unlawful employment practices and provide appropriate relief.

       9.       On May 27, 2021, the Commission issued to Defendant a Notice of Failure of

Conciliation advising Defendant that the Commission was unable to secure from Defendant a

conciliation agreement acceptable to the Commission.

       10.      All conditions precedent to the institution of this lawsuit have been fulfilled.

                                    STATEMENT OF CLAIMS

       11.      In or about February 2020, and continuing thereafter, Defendant engaged in

unlawful employment practices in violation of Section 102 of Title I of the ADA, 42 U.S.C. §

12112, as amended, by discriminating against Charging Party Stevie Baum on the basis of

disability, as follows below.

       12.      On or about February 9, 2020, Charging Party applied to work for Defendant.

       13.      On February 19, 2020, Defendant interviewed Charging Party.

       14.      The Defendant representative who conducted the interview noted no concerns

about Charging Party’s qualifications or ability to work for Defendant and concluded that she

was a good fit for a job with Defendant.

       15.      During the interview, Defendant advised Charging Party that Defendant had an

opening for a Preschool Teacher Assistant position and scheduled her to interview for the job.

       16.      On February 21, 2020, Defendant conducted an interview with Charging Party for

the Preschool Teacher Assistant position. Following that interview, Defendant told Charging

Party to travel to the worksite on March 2, 2020, and report to a representative there.

       17.      On March 2, 2020, Charging Party reported to the worksite and the Defendant




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representative as she had been instructed.

       18.      Charging Party has cerebral palsy, which is a physical or mental impairment that

substantially limits her ability to engage in major life activities, including walking and

performing manual tasks.

       19.      After interacting with Charging Party on March 2, 2020, Defendant refused to

provide her with employment opportunities, including but not limited to employment in the

Preschool Teacher Assistant position, because of disability.

       20.      On March 4, 2020, Defendant sent Charging Party an email saying it would not

hire her. Nowhere in the email did Defendant say that Charging Party lacks any qualification for

employment with Defendant nor did the company identify any legitimate non-discriminatory

reason for its decisions. The only reason Defendant asserted in the email for why it refused to

hire Charging Party is that the company allegedly had “chosen to pursue another candidate . . . .”

       21.      On March 4, 2020, after receiving the email described in paragraph 20, Charging

Party called Defendant.

       22.      During the telephone call on March 4, 2020, Defendant told Charging Party that

Defendant would not hire her because of limitations Defendant perceived her to have because

she has cerebral palsy.

       23.      Charging Party sent Defendant an email on March 4, 2020, in which she asked

Defendant to reconsider its decision not to hire her and to look past her cerebral palsy.

       24.      Charging Party asked Defendant to consider her for any other employment

opportunities, even if it refused to hire her for a teaching position.

       25.      Defendant did not respond to Charging Party’s March 4th email described in

paragraph 23, nor did it otherwise confer or interact with Charging Party concerning employment




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opportunities.

       26.       At no time after March 4, 2020, did Defendant attempt to contact Charging Party.

       27.       Charging Party is a person with a disability under Section 3 of the ADA, 42

U.S.C. §§ 12102, as amended.

       28.       Charging Party is a qualified individual under Section 101(8) of the ADA, 42

U.S.C. 12111(8), as amended.

       29.       Defendant discriminated against Charging Party because of disability in violation

of Section 102 of the ADA, 42 U.S.C. § 12112, as amended, by engaging in prohibited conduct,

including but not limited to: taking adverse employment action against her because of disability

or because Defendant regarded her as disabled, including refusing to hire her or firing her; failing

to engage in an interactive process; and/or denying her employment opportunities for which she

was qualified with or without reasonable accommodations.

       30.       The unlawful employment practices complained of above were intentional.

       31.       The unlawful employment practices complained of above were done with malice

or with reckless indifference to the federally protected rights of Charging Party.

                                      PRAYER FOR RELIEF

       32.       Wherefore, the Commission respectfully requests that this Court:

       A.        Grant a permanent injunction enjoining Defendant, its officers, agents,

employees, attorneys, and all persons in active concert or participation with it, from:

discriminating against persons with disabilities through, inter alia, relying solely on perceptions

of an applicant’s disabilities to determine whether that applicant is qualified for a position;

operating without mechanisms that require managers and human resources personnel to engage

in a good-faith interactive process to identify the need, if any, for accommodations; allowing




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managers to take adverse action against applicants or employees because of disability or

perceived disability; sustaining an environment in which managers and human resources

personnel create justifications for their decisions without substantial and effective review and

thus allowing applicants and employees to suffer adverse employment actions for pretextual

reasons; and otherwise maintaining a bias against people with disabilities based on stereotypes.

            B.      Order Defendant to institute and carry out policies, practices, and programs which

provide equal employment opportunities for qualified individuals with disabilities or individuals

Defendant perceives to be disabled, and which eradicate the effects of its past and present

unlawful employment practices.

            C.      Order Defendant to make whole Charing Party Stevie Baum, by providing

appropriate backpay with prejudgment interest, in amounts to be determined at trial.

            D.      Order Defendant to provide compensation for past and future pecuniary losses

resulting from the unlawful employment practices described above in amounts to be determined

at trial.

            E.      Order Defendant to provide compensation for past and future nonpecuniary losses

resulting from the unlawful practices described above, including emotional pain, suffering,

inconvenience, mental anguish, loss of enjoyment of life, indignity, loss of self-esteem, and

humiliation, in amounts to be determined at trial.

            F.      Order Defendant to pay punitive damages for its malicious and reckless conduct,

as described above, in amounts to be determined at trial.

            G.      Grant such further relief as the Court deems necessary and proper in the public

interest.

            H.      Award the Commission its costs of this action.




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                            JURY TRIAL DEMAND

The Commission requests a jury trial on all questions of fact raised by its complaint.


                                             Respectfully submitted,

                                             U.S. EQUAL EMPLOYMENT
                                             OPPORTUNITY COMMISSION
                                             Washington, D.C.

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